4:17-cr-03125-JMG-CRZ          Doc # 106     Filed: 01/03/19   Page 1 of 3 - Page ID # 434




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                               4:17-CR-3125

vs.                                                    MEMORANDUM AND ORDER

MARCUS KIM REMUS,

                       Defendant.

       This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on a Guilty Plea (filing 104) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts the
findings and recommendation of the Magistrate Judge.
       The Court notes that at the change of plea hearing (filing 101), the
defendant may not have been informed the defendant of "the court's authority
to order restitution[.]" See Fed. R. Crim. P. 11(b)(1)(K). However, the Court
finds that the omission was harmless, because it did not affect the defendant's
substantial rights. See Rule 11(h). While the defendant may not have been
informed in open court about the Court's authority to order restitution, 1 the
petition to enter guilty plea establishes that the defendant was informed of the
possibility of restitution. Filing 102 at 4. The defendant indicated that he had




1 Restitution is mandatory in this case. See 18 U.S.C. § 3663A; see also United States v.


Benedict, 855 F.3d 880, 887 (8th Cir.), cert. denied sub nom. Carpenter v. United States, 138
S. Ct. 341 (2017), and cert. denied, 138 S. Ct. 348 (2017).
4:17-cr-03125-JMG-CRZ     Doc # 106    Filed: 01/03/19   Page 2 of 3 - Page ID # 435




read the petition, that he answered each question before signing the petition,
and that all of his answers in the petition were truthful. Filing 101 at 8.
      The Court also notes that the defendant was advised that each of the two
offenses to which he pled guilty carried a potential fine of up to $250,000—
amounts well in excess of the amounts alleged to have been taken in the
robbery with which the defendant was charged. See filing 19 at 1; filing 102 at
4. The Eighth Circuit has held that the failure to advise a defendant of the
court's authority to order restitution is harmless where the defendant is
warned of a potential fine larger than the actual amount of restitution ordered.
United States v. Molzen, 382 F.3d 805, 806 (8th Cir. 2004).
      Having reviewed the record, the Court is persuaded that any omission
from the Rule 11 colloquy was harmless, as it did not affect the defendant's
substantial rights. See, United States v. Gillen, 449 F.3d 898, 903-04 (8th Cir.
2006); United States v. McCarthy, 97 F.3d 1562, 1574-76 (8th Cir. 1996);
United States v. Young, 927 F.2d 1060, 1061-63 (8th Cir. 1991). The
defendant's decision to plead guilty could not have been affected by the
Magistrate Judge's failure to tell the defendant what he already knew. Young,
927 F.2d at 1063. The Court also notes that both parties waived any objection
to the Magistrate Judge's findings and recommendation. See Peretz v. United
States, 501 U.S. 923, 936-39 (1991).


      IT IS ORDERED:

      1.    The Magistrate Judge's Findings and Recommendation on a
            Guilty Plea are adopted.




                                       -2-
4:17-cr-03125-JMG-CRZ   Doc # 106   Filed: 01/03/19   Page 3 of 3 - Page ID # 436




     2.    The defendant is found guilty. The plea is accepted. The
           Court finds that the plea of guilty is knowing, intelligent,
           and voluntary, and that a factual basis exists for the plea.


     3.    The Court defers acceptance of any plea agreement until the
           time of sentencing, pursuant to Fed. R. Crim. P. 11(c)(3).
           Unless otherwise stated at the time of sentencing, any plea
           agreement will be deemed accepted upon the pronouncement
           of the judgment and sentence.


     4.    This case shall proceed to sentencing.


     Dated this 3rd day of January, 2019.

                                          BY THE COURT:


                                          John M. Gerrard
                                          United States District Judge




                                    -3-
